
65 Cal.Rptr.3d 143 (2007)
166 P.3d 2
PEOPLE
v.
YBARRA (Ronald Enrique).
No. S152984.
Supreme Court of California.
August 15, 2007.
Review granted/briefing deferred (8.512(d)(2) criminal case).
The petitions for review are granted. Further action in this matter is deferred pending consideration and disposition of a related issue in People, v. Gonzalez, S149898, People v. Sloan, S132605, and People v. Izaguirre, S132980 (See Cal. Rules of Court, rule 8.512(d)(2)), or pending further order of the court. Submission of additional briefing, pursuant to California Rules of Court, rule 8.520, is deferred pending further order of the court.
Votes: GEORGE, C.J., KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ.
